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                         IN THE UNITED STATES DISTRICT COURT                                              18     PR   11        PM   12:   26
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUS11ND1VISIO1
Community Financial Services Association of America, Ltd.
and Consumer Services Alliance of Texas,

-VS                                                                        Case No. / /8              -' O            'S\S      L
Consumer Financial Protection Bureau and John Michael
Mulvaney, in his capacity as Acting Director, Consumer
Financial Protection Bureau.


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was
        BE IT REMEMBERED on this the

       presented to     the    Court the Motion              for
                                                                       day of   ___, 20there
                                                                       Admission Pro Hac                  Vice   filed     by

       Christian C. Vergonis            ("Applicant"), counsel for                           Plaintiffs                  and

the Court, having reviewed the motion, enters the following order:

        IT [S ORDERED that the Motion for Admission Pro Hac                      Vice   is GRANTED, and Applicant

may appear on behalf of                       Plaintiffs                    in the above case.

        IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,

in compliance with Local Court Rule AT-1(f)(2), immediately tender the amount                                  of $100.00,

made payable to: Clerk, U.S. District Court.

        IT IS FURTHER ORDERED that Applicant, pursuant to the Administrative Policies and

Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas, shall

register as a filing user within   10   days of the date of this Order.

        IT IS FINALLY ORDERED that ApplicanLs Pro Hac Vice status shall not become effective

until Applicant has complied with all provisions of this Order.

        SIGNED this the        /Itay                                                    20




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